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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

HEATHER HANNA,                                 )
                                               )
                 Plaintiff,                    )       Case No.: 4:17-cv-03912
                                               )
          v.                                   )
                                               )
WELLS FARGO BANK, N.A.,                        )
                                               )
                 Defendant.                    )

                      STIPULATION OF DISMISSAL WITH PREJUDICE


          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff, HEATHER HANNA

(“Plaintiff”), and Defendant, WELLS FARGO BANK, N.A., (“Defendant”), through their counsel,

stipulate that the dispute between the parties has been resolved, and the parties agree to dismiss this

case, with prejudice, both sides to bear their own fees and costs. Therefore, the parties respectfully

request this Honorable Court dismiss this case, with prejudice, both sides to bear their own fees and

costs.


Dated: May 31, 2018                            Respectfully Submitted,

                                               By:/s/ Adam T. Hill
                                               Adam T. Hill, Esq.
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                                               ATTORNEY FOR PLAINTIFF




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Dated: May 31, 2018                  Respectfully Submitted,

                                     By:/s/ James Brian Vanderwoude
                                     James Brian Vanderwoude
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                                     ATTORNEYS FOR DEFENDANT




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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 31, 2018, I electronically filed the foregoing Stipulation of

Dismissal with the Clerk of the Court by using the CM/ECF System. A copy of said Stipulation

was submitted to all parties by way of the Court’s CM/ECF System




                                                                /s/ Adam T. Hill
                                                                Adam T. Hill
                                                                Attorney for Plaintiff




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                                     STIPULATION OF DISMISSAL
